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                                                                                     EXHIBIT A

                       ANIMALS
                            to experiment on, eat, wear,
                            use for entertainment, or
                       ARE abuse in any other way.
                       NOT
                       OURS
     Our Mission Statement
     People for the Ethical Treatment of Animals (PETA) is the largest animal rights organization in the
     world, and PETA entities have more than 9 million members and supporters globally.

     PETA opposes speciesism, a human-supremacist worldview, and focuses its attention on the four
     areas in which the largest numbers of animals suffer the most intensely for the longest periods of
     time: in laboratories, in the food industry, in the clothing trade, and in the entertainment business.
     We also work on a variety of other issues, including the cruel killing of rodents, birds, and other
     animals who are often considered “pests” as well as cruelty to domesticated animals.

     PETA works through public education, investigative newsgathering and reporting, research, animal
     rescue, legislation, special events, celebrity involvement, and protest campaigns.




https://www.peta.org/about-peta/                                                                              1/1
